 

Case 6:06-Cv-01133-.]TI\/|-KI\/|H Document 1 Filed 05/12/06 Page 1 of 5
Case 3:06-cv-00050 Document1 Filed 01/31/2006 Page 1 of 5

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IN THE UNITED sTATEs DISTRICT CoURT FoR THE ""p 0
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sTEvEN R. HOEME, § . ¢,%
Plaintifr, § v/@%
§
vs. § c.A.
§
UNIoN PACIFIC RAILROAD CoMPANY §
Defendant. §
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TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW STEVEN R. HOEME, Plaintiff, hereinafter referred to as Plaintiff,
complaining of TI-IE UNION PACIFIC RAILROAD COMPANY, hereinafter referred to as
Defendant, for cause of action would respectfully show unto the Court the following:

l. Jurisdiction over Defendant in this case arises pursuant to 28 U.S.C. §1331, in that
this action arises under the Constitution, laws, or treaties of the United States, specifically the
Federal Employers' Liability Act, Title 45 U.S.C. §51 et §Q.

2. Plaintiff is a railroad worker residing in the State of Kansas.

3. Defendant at all times material hereto, was and is a railroad corporation doing
business in the State of Texas.

4. Defendant is a foreign corporation which resides in and is subject to personal
jurisdiction in the Southern District of Texas in that it has regular and systematic contact with this

District.

 

 

 

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5. Service of process may be had upon Defendant, UNION PACIFIC RAILROAD
COMPANY, by serving DAVID YOUNG, Law Department, 808 Travis, Suite 620, Houston, Texas
77002.

6. Venue is proper in this matter pursuant to the terms of Title 28 U.S.C. §l391(b) and
(c) in that the Defendant resides in the Southern District of Texas and has regular and systematic j
contacts with this District.

7. At all times mentioned in this complaint, Defendant was a common carrier by railroad
engaged in interstate commerce through and between several states, and Plaintiff was employed by
Defendant to further those activities.

8. The injuries complained of in this Complaint were sustained within the course and
scope of Plaintiffs employment with UNION PACIFIC RAILROAD COMPANY.

9. At all times material hereto, Plaintiff, as employee, and UNION PACIFIC
RAILROAD COMPANY, as employer, were mutually engaged in interstate commerce.

10. PlaintiH while in the course of the employment described above, was engaged in
railroad work. In the course of the work, Plaintiff, was injured as a result of Defendant's negligence
on or about October 06, 2003.

l l. The injury to Plaintiff was due in whole or in part to the negligence of Defendant, its
agents, servants or employees acting in the course and scope of their employment

12. Plaintiff has suffered serious injuries and permanent impairment to his body. These
injuries are permanent in nature. In all reasonable probability, Plaintiff will suffer for a long time

into the future, if not for the balance of his natural life. These injuries have had a serious effect on

Plaintiffs health and well being.

 

 

 

 

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13. Because of the nature and consequences of his injuries, Plaintiff has suffered great
physical and mental pain, suffering and anguish, disiigurement, and in all reasonable probability, will
continue to suffer in this manner for a long time into the future, if not for the balance of his natural
life.

14. At the time of the incident complained of, Plaintiff was gainfully employed as a
railroad worker. Plaintiff has lost wages and benefits in the past and, within reasonable probability,
will continue to suffer a loss of wages, benefits, and earning capacity in the future,

15. As a further result thereof, Plaintiff has incurred expenses for medical care and
attention, such as physicians’ fees, medical supplies, appliances, medicine, hospitalization and
nursing service. These expenses were incurred for necessary care and treatment of the injuries
resulting from the incidents complained of above. The charges for the said expenses were reasonable
and they were the customary charges made for such services in the area in which they were rendered.

16. As a further result of the injuries sustained by Plaintiff, he will, within reasonable
medical probability, incur future expenses for his medical care and attention.

17. As a result of the incidents complained of herein, Plaintiff has suffered in the past
and, within reasonable medical probability, will continue to suffer in the future from physical
impairment

WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendantbe summoned
to appear and answer, and that upon final trial Plaintiff shall have:

1 . Judgment against Defendant for a sum in excess of FIVE HUNDRED THOUSAND
DOLLARS, exclusive of costs and interest;

2. Post-judgment interest at the legal rate against the Defendant;

3. Costs of suit; and

 

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Respectfully submitted,

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MICHAEL H. HENNEN

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ATTORNEYS FOR PLAINTIFF

 

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JS 44 (Rev. 3/99)

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The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as re uired

by law, except as

I. (a) PLAINTIFFS

Steven R Hoeme

(b) County of Residence of First

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(EXCEPT IN U.S. PLAINTIFF CASES)

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DEFENDANTS
The Union Paciiic Railroad Company

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(IN U.S. PLAINTIFF CASES ONLY)
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(c) Attomey’s (Firm Name, Addrees, and Telephone Number)

Michael H. Hennen

Provost Umphrey, L.L.P.
1560 W. Bay Area Blvd., Ste. 355

Friendswood, TX 77546

Tel: 231-461-9735

 

Attomeys (If Known)

 

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III. CITIZENSI-IIP OF PRINCIPAL PARTIES(Plree rn “x" in one sex rer Plninnrr

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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VI. CAUSE OF ACTION

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Do not cite jurisdictional shorter unless diversity.)

Federal Employer’s Liability Aet (FELA), 45 U.S.C. Sec. 51 et seq. Plnint.ih' sustained injuries on or about October 6, 2003 while employed by Defendant, Unioo Pacific Rnilroad Company

 

VII. REQUESTED IN

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COMPLAINT: `_UNDER F.R.C.P. 23 JURY DEMAND: X lies No
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